Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 1 of 35 PageID#
                                   82836




                          Exhibit M
 (previously filed as Dkt. 660-13)
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 2 of 35 PageID#
                                   82837
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 3 of 35 PageID#
                                   82838
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 4 of 35 PageID#
                                   82839
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 5 of 35 PageID#
                                   82840
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 6 of 35 PageID#
                                   82841
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 7 of 35 PageID#
                                   82842
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 8 of 35 PageID#
                                   82843
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 9 of 35 PageID#
                                   82844
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 10 of 35 PageID#
                                    82845
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 11 of 35 PageID#
                                    82846
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 12 of 35 PageID#
                                    82847
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 13 of 35 PageID#
                                    82848
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 14 of 35 PageID#
                                    82849
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 15 of 35 PageID#
                                    82850
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 16 of 35 PageID#
                                    82851
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 17 of 35 PageID#
                                    82852
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 18 of 35 PageID#
                                    82853
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 19 of 35 PageID#
                                    82854
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 20 of 35 PageID#
                                    82855
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 21 of 35 PageID#
                                    82856
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 22 of 35 PageID#
                                    82857
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 23 of 35 PageID#
                                    82858
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 24 of 35 PageID#
                                    82859
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 25 of 35 PageID#
                                    82860
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 26 of 35 PageID#
                                    82861
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 27 of 35 PageID#
                                    82862
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 28 of 35 PageID#
                                    82863
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 29 of 35 PageID#
                                    82864
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 30 of 35 PageID#
                                    82865
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 31 of 35 PageID#
                                    82866
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 32 of 35 PageID#
                                    82867
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 33 of 35 PageID#
                                    82868
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 34 of 35 PageID#
                                    82869
Case 1:23-cv-00108-LMB-JFA Document 1132-13 Filed 08/06/24 Page 35 of 35 PageID#
                                    82870
